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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                          (Southern Division)


LORI KOONTZ, R.N.                                *

              Plaintiff                          *

       vs.                                       *      Civil Action No. AW 12 CV 0407

RADIOLOGISTS ON CALL, LLC, et al.                *

              Defendants                         *

                     ***********************
                STIPULATION OF DISMISSAL WITH PREJUDICE

To the Clerk of the Court:

       The parties, by and through their undersigned counsel, hereby stipulate and agree

pursuant to Rule 41 of the Federal Rules of Civil Procedure that all claims, actions, and

causes of action in the above-captioned case are hereby dismissed WITH PREJUDICE.

All parties shall bear their own costs.

                                          Respectfully submitted,

                                          ARMSTRONG, DONOHUE, CEPPOS,
                                          VAUGHAN & RHOADES, CHARTERED


                                          Andrew J. Marter /S/
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                                          Attorneys for Defendants
  Case 8:12-cv-00407-AW Document 44 Filed 11/27/13 Page 2 of 2



                                        BRUCE J. KLORES & ASSOCIATES, PC


                                        Bruce J. Klores /S/
                                        Bruce J. Klores, Esquire, Bar# 03320
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                                        202-628-8100
                                        Attorneys for Plaintiff

                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of November, 2013, a copy of the
foregoing Stipulation of Dismissal With Prejudice was served electronically by way of
the Court’s e-filing system and/or mailed, postage prepaid to:

Bruce J. Klores, Esquire
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                                               Andrew J. Marter /S/
                                               Andrew J. Marter
